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                                        ORDERED.
      Dated: January 20, 2021




                     UNITED STATES BANKRUPTCY COURT
                MIDDLE DISTRICT OF FLORIDA ORLANDO DIVISION
                              www.flmb.uscourts.gov

IN RE:                                               Case No: 20-03143
Prakash Motiram Lalwani                              Chapter 13
Bharti Prakash Lalwani
Debtors




   ORDER GRANTING IN PART AND DENYING IN PART RELIEF FROM THE
                        AUTOMATIC STAY

       THIS CASE came before the Court for a hearing on January 13, 2021 on Wilmington
Savings Fund Society, FSB, not its individual capacity but solely as Trustee for Verus
Securitization Trust 2018- 2’s (“Secured Creditor”) Motion for Relief from Stay (Docket No.
36). For the reasons stated in open Court, accordingly, it is:

       ORDERED:
    1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED in part and
       DENIED in part.

    2. The automatic stay imposed by 11 U.S.C. § 362 is terminated, to permit the
       commencement of a foreclosure action as to the Secured Creditor’s interest in the
       following property located at 8137 VIA VITTORIA WAY, ORLANDO, Florida
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       32819, in Orange County, Florida, and legally described as:




   3. The automatic stay shall remain in effect until May 14, 2021 in regards to any foreclosure
       sales. A foreclosure sale date may not be obtained prior to May 14,2021.

   4. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   5. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement, loan
       modification, refinance agreement or loan workout/loss mitigation agreement.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


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Attorney, Amy M. Kiser, Esq, is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.
